The complaint and answer are used as affidavits in the case on the application for an injunction and receiver. It was not necessary that the judge below should "find the facts" further than to examine the affidavits and determine whether sufficient cause was shown for the ancillary relief sought pending the action. In proceedings of the present nature this Court in the exercise of its equitable jurisdiction is required to pass upon the facts as well as the law. Jones v. Boyd, 80 N.C. 258. A serious controversy exists between the parties to this action, involving the bonafides of a deed of assignment made by defendants Garris  Bridgers to J. D. Bottoms; the insolvency of the trustee is positively averred by plaintiff and the defendants simply allege their belief that he is not insolvent. His Honor required him, for the protection of the estate, to give bond in $1,000, and upon his refusal to give such bond appointed a receiver. No questions as to exemptions were necessary to be determined in this order made for the preservation of the property or fund pending the litigation. It is now in the hands of an officer of the court and all these matters may be determined in good time.
This is not a case in which a specific denial of the allegations (383) in plaintiff's affidavit would entitle the defendants to a dissolution of the restraining order. The practice is so well settled now that it will be unnecessary to cite authorities.
Affirmed.
Cited: Pearce v. Elwell, 116 N.C. 597. *Page 243 